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AO 399 (01/09) Waiver of the Service of Summons



                                         UNrrpo Srarps Dtsrrucr CoURT
                                                                       for the
                                                              Northern District of Illinois
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Dennis Taylor (R-68729)                                                                                        f
                                                                                                         JJ:
                      Plaintilf
                                                                                      Civil Action No. l7 CV 00441
Randy Pfister, Karen Rabideau, Mack Deathrow, and
Jacqueline Lashbrook
                                 Defendant
                                                                                                                       F'$ H"-HD
                                                wArvER oF rHE sERvrcE oF suMMoNS                                          JAN z 3 {0m
                                                                                                                    4,
To: Justin Hanson. Gould & Ratner LLP                                                                                    Trli:'   ".j;   t,lUTON
                 (Name of the plaintiJf's attorney or unrepresented plaintif/)                                     CLERK. .-,-        -li&}I ITICT COURT

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

            I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

           I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
.iurisdiction, and the venue of the action, but that I waive any ob.lections to the absence of a summons or of service.
                                                                                                                 l2 within
            I also understand that I, or the entity I represent, must flle and serue an answer or a motion under Rule
60daysfiom January9,20l9                            __,thedatewhenthisrequestwassent(or90daysifitwassentoutsidethe
LJnited    States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


o"", /-/b-/?
Dustin Dethrow
         Printed name oJ'party waiving service of summons




                                                                                                                   l:-ntuil address

                                                                                            b r8- (a.t, - sl>:l I
                                                                                                         T'elephone number


                                               Duty to Avoid Unnecessary Expenses of Serving a Summons

           Rule 4 ol'the Federal Rules olC--ivil Procedure rcquires certain def'endants to cooperate in saving unnccessary expenses of serving a surnmons
and complaint. A del'endant who is located in thc [Jnited States and rvho l.ails to return a signed rvaiver of servioe requcsted by a plaintilf located in
the [Jnited States will be required to pay the expenses ofservice, unless the defendant shows good cause tbr the I'ailure.

            "Cood cause" does not include a beliel'that the larvsuit is groundless, or that it has bcen brought in an impropcr venue, or that the court has
no   jurisdiction over this matter or over the delendant or thc del'endant's property.

            lf   the waiver is signcd and returned, you can still make these and all other def'enses and objections. but you cannot ob.ject to the absence ol
a summons or       of service.

           lf you waive service, then you must, within the time specified on the waiver fbrm, serve an answer or a motion under li,ulc l2 on the plaintill'
and file a copy with the court. By signing and retuming the waiver form, you are allowed more time to respond than if a summons had been served.


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